    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1(b)
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    Counsel to the CGPN, LLC

    In re:                                                               Chapter 11

    ALUMINUM SHAPES, L.L.C.,                                             Case No. 21-16520 (JNP)

                                   Debtor.


       APPLICATION FOR ENTRY OF AN ORDER APPROVING STATEMENT OF
                   EXPENSES BY STALKING HORSE BIDDER

         CGPN, LLC, the Court approved stalking horse bidder (“CGPN”), hereby files this

Application for Entry of an Order Approving Statement of Expenses by Stalking Horse Bidder

(this “Statement of Expenses”) pursuant to and in accordance with the Court’s Order Granting

the Debtor’s Motion for Approval of Bid Protections [D.I. 158] (the “Bid Protections Order”).

                                     PRELIMINARY STATEMENT

         1.      The Bid Protections Order approved the Break-Up Fee 1 to CGPN in the amount of

$400,000 and an Expense Reimbursement to CGPN (inclusive of any attorneys’ fees) of up to a

maximum of $75,000.




1
 Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Bid Protections
Order.


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        2.       On November 10, 2021, the Debtor conducted an auction of its assets (the

“Auction”). CGPN bid at the Auction but was not the successful bidder.               The successful

purchaser’s bid was $32,000,000, which was $12,000,000 higher than CGPN’s stalking horse bid.

        3.       CGPN travelled several times to the Debtor’s location to inspect the Debtor’s assets.

Such travel consisted of airline flights, ground transportation and lodging. The total of the out-of-

pocket-travel expenses of CGPN is $7,157.55, as attached hereto as Exhibit A. CGPN retained

Cohen Tauber Spievack & Wagner P.C. (“CGPN Counsel”) to represent CGPN in this matter.

The fees and expenses of CGPN Counsel are in the amount of $74,155.95 pursuant to the invoice

attached hereto as Exhibit B. The total amount of CGPN’s expenses including fees and expenses

of CGPN Counsel is $81,313.50 (“CGPN Expenses”). CGPN submits that the CGPN Expenses

are reasonable, yet in accordance with the Bid Protections Order CGPN is only requesting

reimbursement of $75,000 of the CGPN Expenses as payment of the Expense Reimbursement in

full. The due diligence undertaking and efforts by CGPN and CGPN Counsel contributed to the

competitive nature of the auction process leading ultimately to the Debtor receiving a successful

bid of $32,000,000 for the purchase of the Debtor’s assets, $12,000,000 higher than the amount of

CGPN’s stalking horse bid.

                                      RELIEF REQUESTED

        4.       CGPN submits that the CGPN Expenses are reasonably documented and support

CGPN’s request for reimbursement of $75,000 as full payment of the Expense Reimbursement

previously authorized by the Bid Protections Order.

                                              NOTICE

        5.       Notice of this Motion will be given to: (i) the Office of the United States Trustee

for Region 3; (ii) counsel for the Debtor; (iii) counsel to the Committee; and (iv) counsel for Tiger



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Finance, LLC.

                                          CONCLUSION

        6.       WHEREFORE, CGPN requests this Court enter the Order substantially in the

form attached hereto as Exhibit C.

        I certify under penalty of perjury that the foregoing is true and correct.

                                       Respectfully Submitted,

Dated: November 18, 2021          By: /s/ Joseph M. Vann
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